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 1                            UNITED STATES DISTRICT COURT
 2                                    DISTRICT OF NEVADA
 3

 4    UNITED STATES OF AMERICA,                     )   2:10-cr-284-RLH-PAL-4
                                                    )
 5                    Plaintiff,                    )
                                                    )
 6                    vs.                           )
                                                    )
 7    PATRICIA BASCOM,                              )
                                                    )
 8                    Defendant.                    )
                                                    )
 9

10
                                                  ORDER
11

12
              Having considered defendant’s motion to continue sentencing in the above-captioned
13
      matter, as well as the government’s opposition, and finding no cause to continue sentencing,
14
              IT IS ORDERED that defendant’s motion should be and hereby is DENIED.
15            Due to a conflict in the Court's schedule resulting from involvement in an ongoing
16
              DATED trial,
      complex criminal this ______  day of _________,
                             IT IS FURTHER     ORDERED2011.the sentencing in this matter is advanced
17
      to THURSDAY, DECEMBER 1, 2011 at 3:30 PM, Courtroom 6C.
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20
     DATED: November 22, 2011                      ________________________________
21
                                                   UNITED STATES DISTRICT JUDGE
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                                                UNITED STATES DISTRICT JUDGE
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